       Case 2:20-cv-00080-TS Document 3 Filed 02/11/20 PageID.22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 LYNNETTE COOK, RODNEY JAY
 VESSELS, JULIE LITTLE TAGGART,
 Individuals,

                 Plaintiffs,
                                                             ORDER OF RECUSAL
 vs.
                                                                2:20-cv-00080-DBB
 THE CORPORATION OF THE
                                                            District Judge David Barlow
 PRESIDENT OF THE CHURCH OF
 JESUS CHRIST OF LATTER-DAY
 SAINTS, a Utah Corporation Sole,

                 Defendant.


         I recuse myself in this case and ask that the appropriate assignment card for equalization

be drawn by the clerk’s office.

         Signed February 11, 2020.



                                               BY THE COURT:




                                               David Barlow
                                               United States District Judge
